           Case 1:22-cr-00222-CRC Document 24 Filed 09/27/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
                                   _____________

UNITED STATES OF AMERICA,

                    Plaintiff,                              No. 1:22-cr-00222-CRC-1


v.                                                          Hon. Christopher R. Cooper
                                                            United States District Judge

RYAN KELLEY,

                    Defendant.


UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE AND TO EXCLUDE
                 TIME UNDER SPEEDY TRIAL ACT

       Mr. Ryan Kelley respectfully requests that the Court continue the scheduled status

conference to allow sufficient time to receive and review discovery and explore any potential

plea offers. Mr. Kelley makes this motion for an ends-of-justice continuance pursuant to 18 to

18 U.S.C. § 3161(h)(7)(A). The government does not oppose the motion.

       In support of this motion, defense counsel states:

      1.       Mr. Kelley was charged with having knowingly entered or remained in a restricted

               building or grounds without lawful authority, in violation of 18 U.S.C. §

               1752(a)(1); with having engaged in disorderly and disruptive conduct in a restricted

               building or grounds, in violation of 18 U.S.C. § 1752(a)(2); with having engaged

               in an act of physical violence against person or property in any restricted building

               or grounds, in violation of 18 U.S.C. § 1752(a)(4); and, with willfully injuring or

               committing any depredation of property of the United States, in violation of 18

               U.S.C. § 1361. (ECF No. 14, Information).
     Case 1:22-cr-00222-CRC Document 24 Filed 09/27/22 Page 2 of 3




2.       Mr. Kelley made his initial appearance on June 16, 2022.

3.       The status conference is scheduled for September 28, 2022.

4.       A continuance is necessary and the ends of justice would be served if a

         continuance was granted. The requested continuance is reasonable and for good

         cause as defense counsel requires more time to receive and review the discovery,

         and also explore any potential plea offers. The discovery review and discussions

         with the government will not be complete by the currently scheduled status

         conference.

5.       The Speedy Trial Act — which requires that a trial commence within 70 days

         from the date of indictment or arraignment, whichever is later — allows for

         certain enumerated pretrial delays.

6.       The Act excludes from the 70-day Speedy Trial Clock “delay resulting from any

         pretrial motion, from the filing of the motion through the conclusion of the

         hearing on, or other prompt disposition of, such motion.” 18 U.S.C.

         § 3161(h)(1)(D).

7.       The Act also excludes time from the Speedy Trial Clock when a judge finds “that

         the ends of justice served by [a continuance] outweigh the best interest of the

         public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). The

         request to move the final pretrial conference, and trial can be evaluated under this

         standard.

8.       In evaluating a request for an ends-of-justice continuance, the Court must

         consider certain factors, including:
            Case 1:22-cr-00222-CRC Document 24 Filed 09/27/22 Page 3 of 3




                a.     “Whether the failure to grant such a continuance in the proceeding would .

                       . . result in a miscarriage of justice.” 18 U.S.C. § 3161(h)(7)(B)(i).

                b.     “Whether the failure to grant such a continuance . . . would deny counsel .

                       . . the reasonable time necessary for effective preparation, taking into

                       account the exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv).

       9.       District courts regularly grant ends-of-justice continuances when the defendant

                articulates reasons for needing more time to prepare adequately for the trial or

                hearing. See, e.g., Zedner v. United States, 547 U.S. 489, 498 (2006) (explaining

                that the ends-of-justice continuance provision in the Speedy Trial Act gives courts

                “flexibility” and “discretion” to “accommodate limited delays for case-specific

                needs”).

       10.      The parties request that the Court grant a 60 day continuance.

       11.      Mr. Kelley agrees that the time limits under the Speedy Trial Act are tolled for the

                period between the current status conference and the date agreed upon for the next

                hearing.

       12.      The government does not object to this request.

       Wherefore, with no objection from the government, Mr. Kelley respectfully requests a

continuance of the status conference to allow defense counsel sufficient time to receive and

review discovery and assess a potential resolution short of trial.

                                                      Respectfully submitted,
Dated: 9/27/2022                                      /s/ Nicole E. Springstead Stolte________
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